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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA
                                   L.B.F. 3015.1-1

In re:                                                           Case No.16-17404
DAVID EDWARD MOORE, JR., Debtor.                                 Chapter: 13

                                    CHAPTER 13 PLAN
_ Third Amended Plan
Date:_8-19-19
                 THE DEBTOR HAS FILED FOR RELIEF UNDER
                   CHAPTER 13 OF THE BANKRUPTCY CODE

                            YOUR RIGHTS WILL BE AFFECTED
You should have received from the court a separate Notice of the Hearing on Confirmation of
Plan, which contains the date of confirmation hearing on the Plan proposed by the Debtor. This
document is the actual Plan proposed by the Debtor to adjust debts. You should read these
papers carefully and discuss them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY
PROVISION OF THIS PLAN MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy
Rule 3015 and Local Rule 3015-5. This Plan may be confirmed and become binding, unless a
written objection is filed.

               IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
               MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                             NOTICE OF MEETING OF CREDITORS.
Part 1:   Bankruptcy Rule 3015.1 Disclosures
          ___x__ Plan contains non-standard or additional provisions-see Part 9.
          ____ Plan limits the amount of secured claim(s) based on value of collateral
          _____ Plan avoids security interest or lien

Part 2:   Payment and Length of Plan
          Section 2(a)(1) Initial Plan:
          Total Base Amount to be paid to the Chapter 13 Trustee(“Trustee”)$30,480        .
          Debtor shall pay the Trustee $508 per month for 60 months; and
          Debtor shall pay the Trustee $__________per month for_________months.
          Other changes in the scheduled plan payment are set forth in Section 2(d).

          Section(a)(2)Amended Plan:
           Total Base Amount to be paid to the Chapter 13 Trustee(“Trustee”)$39,324 Plus Sale
                Proceeds
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       The Plan payments by Debtor shall consists of the total amount previously paid
       ($13,424)
       Added to the new monthly Plan payments in the amount of $700
       beginning_September, 2018, for 37 months.
        Other changes in the scheduled plan payments are set forth in Section 2(d)

                Section 2(b) Debtor shall make plan payments to the Trustee from the following
sources in addition to future wages(Describe source, amount and date when funds are
available, if known): Social Security
                Section 2(c) Use of real property to satisfy plan obligations:
                ___x____ Sale of real property
                          See Section 7(c) below for detailed description

               Section 2 (d) Other information that may be important relating to the payment
and length of Plan:

Part 3: Priority Claims (including Administrative Expenses & Debtor’s Counsel Fees)
Section 3(a) Except as provided in Section 3(b) below, all allowed priority claims will be paid
in full unless the creditor agrees otherwise:
Creditor                              Type of Priority            Estimated Amount to be Paid
David A. Scholl, Esq.                  Administrative              $5000

City of Philadelphia                 Taxes                         $52.64




Section 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid
less than full amount.

___x____ None. If “None” is checked, the rest of Section 3(b) need not be completed.

_______ The allowed priority claims listed below are based on a domestic support obligation
that has been assigned to or is owed to a governmental unit and will be paid less than the full
amount of the claim. This plan provision requires that payments in Section 2(a) be for a term of
60 months; see 11 U.S.C. Section 1322(a)(4).

Name of Creditor                                    Amount of claim to be paid




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Part 4. Secured Claims
        Section 4(a) Curing Default and Maintaining Payments
        __x______ None. If “None” is checked, the rest of Section 4(a) need not be completed.
               The Trustee shall distribute an amount sufficient to pay allowed claims for
prepetition arrearages; and, Debtor shall pay directly to creditor monthly obligations falling due
after the bankruptcy filing.
___________________________________________________________________________
Creditor -- Description of -- Regular Monthly-- Estimated -Interest Rate -- Amount to be
             Secured         Payment to be       Arrearage on Arrearage, Paid to
            Property and     paid directly to                   if applicable Creditor by
            Address, if real creditor by                                        the Trustee
               Property      Debtor


Section 4(b) Allowed Secured Claims to be Paid in Full: Based on Proof of Claim or Pre-
Confirmation Determination of the Amount, Extent or Validity of the Claim
______ None. If “None” is checked, the rest of Section 4(b) need not be completed.

       (1) Allowed secured claims listed below shall be paid in full and their liens retained
           until completion of payments under the plan.
       (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will
           be filed to determine the amount, extent or validity of the allowed secured claim
           and the court will make its determination prior to the confirmation hearing.
       (3) Any amounts determined to be allowed unsecured claims will be treated either (A)
           as a general unsecured claim under Part 5 of the Plan or (B) as a priority claim
           under Part 3, as determined by the court.
       (4) In addition to payment of the allowed secured claim, “present value” interest
           pursuant to 11 U.S.C. Section 1325(a)(5)(B)(ii) will be paid at the rate and in the
           amount listed below. If the claimant included a different interest rate or amount
           for “present value” interest in its proof of claim, the court will determine the
           present value interest rate and amount at the confirmation hearing.
       (5) Upon completion of the Plan, payments made under this section satisfy the
           allowed secured claim and release the corresponding lien.
           __________________________________________________________________
           Name of Creditor Description of Allowed Present Dollar Amount Total
                               Secured Property Secured Value of Present              Amount to
                               And Address, if Claim        Interest Value Interest be paid
                               Real Property                Rate
       City of Philadelphia, 1201 W. Erie Ave., Phila. 19140 $40,000 9%              $50,000
                             1144 Union St., Phila. 19104
       City of Wilmington 818 W. 9th St., Wilmington, DE 19801           0          $2500
                              1021 Read St., Wilmington, DE 19805
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         Section 4(c) Allowed claims to be paid in full that are excluded from 11 U.S.C.
         Section 506

         __x____ None. If “None” is checked, the rest of Section 4(c) need not be
         completed.

         The claims below were either (1) incurred within 910 days before the petition date
         and secured by a purchase money security interest in a motor vehicle acquired for
         the personal use of the debtor(s), or (2)incurred within 1 year of the petition date
         and secured by a purchase money security in any other thing of value.

         (1)The allowed secured claims listed below shall be paid in full and their liens
         retained until completion of payments under the plan.

         (2)In addition to payment of the allowed secured claim, “present value” interest
         pursuant to 11 U.S.C. Section 1325(a)(5)(B)(ii) will be paid at the rate and in the
         amount listed below. If the claimant included a different interest rate or amount for
         “present value” interest in its proof of claim, the court will determine the present
         value interest rate and the amount at the confirmation hearing.

         Name of Creditor      Collateral
                                     Amount of Present Value Est. total payments
                                      Claim
         _______________ ___________ __________ __________% $_______________

         _______________ ___________ ___________ ___________% $_______________


         Section 4(d)Surrender

         __x___ None. If “None” is checked, the rest of Section 4(d) need not be
         completed.

         (1)Debtor elects to surrender the secured property listed below that secures the
         creditor’s claim.

         (2)The automatic stay under 11 U.S.C. Section 362(a) with respect to the secured
         property terminates upon confirmation of the Plan.

         (3)The Trustee shall make no payments to the creditors listed below on their
         secured claims.
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            _____________________________________________________________________
            Creditor                            Secured Property




            _____________________________________________________________________



Part 5. Unsecured Claims
Section 5 (a) Specifically Classified Allowed Unsecured Non-Priority Claims

__x___None. If “None” is checked, the rest of Section 5(a) need not be completed.

Creditor       Basis for Separate      Treatment      Amount of     Amount to
               Classification                         Claim         to be paid




Section 5(b) All Other Timely Filed, Allowed General Unsecured Claims

(1)Liquidation test(check one box)

__         All Debtor(s) property is claimed as exempt.

__x_____ Debtor(s) has non-exempt property valued at $_160,000 for purposes of Section
1325(a)(4)

(2)Funding: Section 5(b)claims to be paid as follows(check one box)
______ Pro rata

___x___ 100%

______ Other (Describe)
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Part 6. Executory Contracts & Unexpired Leases

________ None. If “None” is checked, the rest of Section 6 need not be completed.


Creditor             Nature of Contract Lease        Treatment by Debtor Pursuant to 365()
N/A                  Lessor of Apt. at 1201 W. Erie Ave., Philadelphia, PA. 19140 Assume




Part 7. Other Provisions
Section 7(a) General Principles Applicable to the Plan
   (1) Vesting of Property of the Estate(check one box
        ___X_______ Upon confirmation
        __________ Upon discharge

   (2) Unless otherwise ordered by the court, the amount of a creditor’s claim listed in its
       proof of claim controls over any contrary amounts listed in Parts 3, 4, or 5 of the Plan.

   (3) Post-petition contractual payments under Section 1322(b)(5) and adequate protection
       payments under Section 1326(a)(1)(B),(C) shall be disbursed to the creditors by the
       Debtor directly. All other disbursements to creditors shall be made by the Trustee.

   (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in
       which Debtor is the plaintiff, before the completion of plan payments, any such recovery
       in excess of any applicable exemption will be paid to the Trustee as a special Plan
       payment to the extent necessary to pay priority and general unsecured creditors, or as
       agreed by the Debtor and the Trustee and approved by the court.


Section 7(b) Affirmative Duties on Holders of Claims secured by a Security Interest in Debtor’s
Principal Residence

   (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only
       to such arrearage.
   (2) Apply the post petition monthly mortgage payments made by the Debtor to the post
       petition mortgage obligations as provided for by the terms of the underlying mortgage
       note.
   (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan
       for the sole purpose of precluding the imposition of late payment charges or other
       default-related fees and services based on the pre-petition default or default(s). Late
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       charges may be assessed on post-petition payments as provided by the terms of the
       mortgage and note.
   (4) If the secured creditor with a security interest in the Debtor’s property sent regular
       statements to the Debtor pre-petition, and the Debtor provides for payments of that
       claim directly to the creditor in the Plan, the holder of the claims shall resume sending
       customary monthly statements.
   (5) If a secured creditor with a security interest in the Debtor’s property provided the
       Debtor with coupon books for payments prior to the filing of the petition, upon request,
       the creditor shall forward post-petition coupon book(s) to the Debtor after this case has
       been filed.
   (6) Debtor waives any violation of stay claim arising from the sending of statements and
       coupon books as set forth above.

Section 7(c) Sale of Real Property

       _______ None. If “None” is checked, the rest of Section 7 © need not be completed.


       (1) Closing for the sale of 12o1 W. Erie Ave., Philadelphia, PA. 19140 (the “Real
           Property”) shall be completed within 36 months of the commencement of this
           bankruptcy case (the “Sale Deadline”). Unless otherwise agreed by the parties or
           provided by the Court, each allowed claim secured by the Real Property will be paid
           in full under Section 4(b)(1) of the Plan at the closing (“Closing Date”).
       (2) The Real Property will be marked for sale in the following manner and on the
           following terms: Listed for Sale for $120,000, Will accept at least $100,000 by
           November 1, 2019, or Debtor will amend plan to pay all allowed arrearages.




           _____________________________________________________________________



       (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at
           settlement all customary closing expenses and all liens and encumbrances, including
           all section 4(b) claims, as may be necessary to convey good and marketable title to
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           the purchaser. However, nothing in this Plan shall preclude the Debtor from seeking
           court approval of the sale of the property free and clear of liens and encumbrances
           pursuant to 11 U.S. C Section 363(f), either prior to or after confirmation of the Plan,
           if, in the Debtor’s judgment, such approval is necessary or in order to convey
           insurable title or is otherwise reasonably necessary under the circumstances to
           implement this Plan.
       (4) Debtor shall provide the Trustee with a copy of the closing settlement sheet within
           24 hours of the Closing Date.
       (5) In the event that a sale of the Real Property has not been consummated by the
           expiration of the Sale Deadlie:




Section 7(d) Loan Modification


___x____ None. If “None” is checked, the rest of 7(d) need not be completed.

(1)Debtor shall pursue a loan modification directly with Ocwen Loan Servicing, LLC___________
or its successor in Interest or its current servicer (“Mortgage Lender”), in an effort to bring the
loan current and resolve the secured arrearage claim.

(2)During the modification application process, Debtor shall make adequate protection
payments directly to Mortgage Lender in the amount of $630 per month, which represents
regular post-petition mortgage payment.. Debtor shall remit the adequate protection payments
directly to the Mortgage Lender.

(3)If the modification is not approved by December 31, 2018, Debtor shall either (A)file an
amended Plan to otherwise provide for the allowed claim of the Mortgage Lender; or
(B)Mortgage Lender may seek relief from the automatic stay with regard to the collateral and
Debto rmay not oppose it.




Part 8. Order of Distribution

The order of distribution of Plan payments will be as follows:
Level 1: Trustee Commissions*
Level 2: Domestic Support Obligations
Level 3: Adequate Protection Payments
Level 4: Debtors attorney’s fees
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Level 5:   Priority claims, pro rata
Level 6:   Secured claims, pro rata
Level 7:   Specially classified unsecured claims
Level 8:   General unsecured claims
Level 9:   Untimely filed, allowed general unsecured claims

Part 9. Non Standard or Additional Plan Provisions

_______. If “None” is checked, the rest of Section 9 need not be completed. Debtor will
continue Philadelphia Tax Review Board hearings to reduce interest and penalty charged by the
City of Philadelphia. The Debtor has been authorized by this court to sell his real estate at 818
West 9th St., Wilmington, DE 19801, to the Wilmington Neighborhood Conservancy Land Bank
for $35,000, which, after taxes, will net approximately $14,500, all of which will be paid to the
trustee towards the Debtor’s plan payments.


_______________________________________________________________________
Part 10. Signatures

   Under Bankruptcy Rule 3015(c), nonstandard or additional plan provisions are required to be
set forth in Part 9 of the Plan. Such Plan provisions will be effective only if the applicable box in
Part 1 of this Plan is checked. Any nonstandard or additional provisions set out other than in
Part 9 of the Plan are VOID. By signing below, attorney for Debtor(s) or unrepresented
Debtor(s) certifies that this Plan contains no nonstandard or additional provisions other than
those in Part 9 of the Plan.

Date: 8-19-19                                              _______________________________
                                                          /S/ David A. Scholl
                                                          Attorney for Debtor


       If Debtor(s) are unrepresented

Date: _________________________________               ___________________________________

                                                      Debtor
Date: __________________________________              ___________________________________
                                                      Joint Debtor
